2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 1 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 2 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 3 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 4 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 5 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 6 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 7 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 8 of 9
2:23-cv-02054-SLD # 20   Filed: 10/16/23   Page 9 of 9
